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         The Court often determines diligence primarily by looking to whether the
  parties timely tried to ventilate discovery issues before the Magistrate Judge.
  Consistent with the statements at the August 29 scheduling conference, the Court
  will not grant any stipulation, application, or motion to modify the case schedule
  without the party or parties demonstrating they brought the issue before the
  Magistrate Judge or an explanation of why it would have been impossible to bring
  the issue before the Magistrate Judge before the deadline set by the Court.

  IT IS SO ORDERED.




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